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                                    15 Attorney for Defendants
                                       NAUSICAA RAMPONY, AND THE
                                    16
                                       COOL HEART, LLC,
                                    17
                                    18                     UNITED STATES DISTRICT COURT

                                    19                     CENTRAL DISTRICT OF CALIFORNIA
                                    20
                                                                    WESTERN DIVISION
                                    21
                                    22   DOUGLAS KIRKLAND                              Case No.: 2:20-cv-01374
                                    23
                                                                      Plaintiff,       JOINT CASE MANAGEMENT
                                    24                                                 STATEMENT
                                    25   v.
                                    26   NAUSICAA RAMPONY, AND THE
                                    27   COOL HEART, LLC,
                                    28

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                                                                                             JOINT CASE MANAGEMENT STATEMENT
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                                     1                                 Defendants.
                                     2
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                                     6
                                     7                JOINT REPORT PURSUANT TO F.R.C.P. RULE 26(f)
                                     8
                                     9         This Joint Report Pursuant to F.R.C.P. Rule 26(f) is submitted by Plaintiff
                                    10 Douglas Kirkland, (“Kirkland” or “Plaintiff”), and Defendants Nausicaa Rampony,
                                    11 and The Cool Heart, LLC (collectively the “Defendants”).
                                    12         The counsel for Plaintiff and for Defendants conferred on March 16, 2021, as
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                                    13 required under the Federal Rules of Civil Procedure (“FRCP”) Rule 26(f) and Local
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                                    14 Rule L.R. 26-1, and this Court’s Scheduling Order.
                                    15         Plaintiff and Defendants, through their respective counsel of record, hereby
                                    16 submit this Joint Report prepared pursuant to FRCP Rule 26(f) following their March
                                    17 17, 2021 conference, as follows:
                                    18         1.     Jurisdiction and Service: The basis for the court’s subject matter
                                    19 jurisdiction over Plaintiff’s claims in the above-captioned action (the “Action”) is the
                                    20 Copyright Act of 1976, 17 U.S.C. §§ 101 et seq. and 501 et seq. The parties do not
                                    21 dispute personal jurisdiction or venue as they affect the Defendants. The Defendants
                                    22 named in the complaint in the Action have been served and have filed an answer.
                                    23         2.     Factual Issues: Plaintiff contends that the chronology of the facts and
                                    24 events relevant to this Action, and the principal factual issues in dispute, are as
                                    25 follows:
                                    26 / /
                                    27 / /
                                    28 / /

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                                                                                              JOINT CASE MANAGEMENT STATEMENT
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                                     1 PLAINTIFF CONTENDS:
                                     2               a.    Douglas Kirkland (“Kirkland”) joined Look Magazine in his early
                                     3 twenties, and later Life Magazine during the golden age of 60’s/70’s photojournalism.
                                     4 His assignments included essays on Greece, Lebanon, and Japan, as well as fashion
                                     5 and celebrity work, photographing Marilyn Monroe, Elizabeth Taylor, Marlene
                                     6 Dietrich and many others.
                                     7               b.    Kirkland’s fine art photography has been exhibited all over the
                                     8 world. His work is in the permanent collections of the Smithsonian, the National
                                     9 Portrait Gallery in Canberra, Australia, the National Portrait Gallery in London, the
                                    10 Eastman House in Rochester, the Houston Center for Photography, and the Annenberg
                                    11 Space for Photography in Los Angeles.
                                    12               c.    Kirkland owns the copyright in the image at issue in this case.
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                                    13               d.    Defendant THE COOL HEART, LLC (“TCH”) is an art gallery
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                                    14 located in Beverly Hills, California. TCH is the owner and operator of a website
                                    15 located at the URL www.thecoolheart.com (the “Website”). TCH is promoting a
                                    16 gallery event at the Sofitel in Beverly Hills on its Website using Kirkland’s work.
                                    17               e.    Defendant NAUSICAA RAMPONY is the owner of TCH.
                                    18               f.    Defendants have never been licensed to use the Work at issue in
                                    19 this action for any purpose.
                                    20               g.    Kirkland alleges that Defendants copied Kirkland’s copyrighted
                                    21 Work from the internet in order to advertise, market and promote its business
                                    22 activities.
                                    23               h.    TCH copied and distributed Kirkland’s copyrighted Work in
                                    24 connection with TCH’s business for purposes of advertising and promoting TCH’s
                                    25 business, and in the course and scope of advertising and selling products and services.
                                    26               i.    TCH committed copyright infringement of the Work on its
                                    27 www.thecoolheart.com website.
                                    28 DEFENDANTS CONTEND:

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                                     1              a.     TCH did not use Kirkland’s work to promote gallery events. TCH
                                     2                     understood the artwork provided and created by Kfir Moyal was
                                     3                     his intellectual property.
                                     4              b.     In addition, TCH and Nausicaa Rampony were not aware and had
                                     5                     no reason to believe that its and her acts may have constituted an
                                     6                     infringement of copyright.
                                     7              c.     The work provided by Kfir Moyal to Defendants did not contain a
                                     8                     copyright notice and it was represented by Kfir Moyal to be his
                                     9                     artwork.
                                    10              d.     Defendants are unsophisticated parties with Nausicaa Rampony
                                    11                     being the owner of TCH which is a local art gallery and
                                    12                     Defendants and are not a large company.
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                                    13        3.    Legal Issues: The disputed points of law are as follows:
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                                    14 PLAINTIFF CONTENDS:
                                    15              a.     Whether Kirkland owns a valid copyright in the Work;
                                    16              b.     Whether TCH copied, displayed or distributed Plaintiff’s Work;
                                    17                     and
                                    18              c.     Kirkland’s damages.
                                    19 DEFENDANTS CONTEND:
                                    20              a.     Whether Kirkland owns a valid copyright in the Work;
                                    21              b.     Whether the art hung by TCH was for a fair use;
                                    22              c.     Whether the art hung by TCH was used to promote business
                                    23                     activities;
                                    24              d.     Whether the art hung by TCH was the intellectual property of Kfir
                                    25                     Moyal;
                                    26        4.    Realistic Range of Probable Damages: Kirkland believes his damages
                                    27 are at least $150,000. Defendants dispute this amount.
                                    28        5.    Additional Parties: It is believed that there are no additional parties.

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                                     1        6.    Complex Case: The parties agree this is not a complex case.
                                     2        7.    Depositions:
                                     3              a.    Kirkland is planning on taking approximately three depositions.
                                     4              b.    Defendants are planning on taking approximately three
                                     5                    depositions.
                                     6              c.    Depositions will be set conducted after the parties have exchanged
                                     7                    discovery and by January 31, 2022.
                                     8        8.    Written Discovery:
                                     9              a.    Each party will seek twenty-five (25) interrogatories.
                                    10              b.    Reponses to interrogatories, requests for production and requests
                                    11                    for admissions are due 30 days after service of the discovery
                                    12                    requests.
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                                    13        9.    Proposed Discovery Cut-Off Date: January 31, 2022
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                                    14        10.   Motions:
                                    15              a.    Plaintiff contemplates filing motion(s) for summary judgment
                                    16                    and/or summary adjudication upon substantial completion of
                                    17                    discovery. Proposed hearing date for the motion for summary
                                    18                    judgment is March 25, 2022.
                                    19              b.    Defendants counsel have filed a motion to withdraw as counsel.
                                    20                    Defendants further contemplates filing any necessary discovery
                                    21                    motions for compliance, and any other dispositive motions such as
                                    22                    summary judgment upon completion of discovery. Proposed
                                    23                    hearing date for the motion to withdraw has been noticed for May
                                    24                    4, 2021 and any motions for dispositive relief are similarly
                                    25                    proposed for March 25, 2022.
                                    26        11.   Experts:
                                    27              a.    Number of experts expected to be called by each side.
                                    28                   i.     Plaintiff contemplates calling one expert.

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                                     1                    ii.     Defendants contemplates calling one expert.
                                     2               b.     Expert’s area of expertise is.
                                     3                     i.     Plaintiff’s expert’s expertise will be copyright damages.
                                     4                    ii.     Defendants’ expert’s expertise will be in copyright damages.
                                     5         12.   Proposed Pre Trial Conference Date: April 28, 2022.
                                     6         13.   Trial: The Plaintiff requested a jury trial on February 25, 2020. The
                                     7 expected length of trial is 3-5 days.
                                     8         14.   Prospects of Settlement: The parties have engaged in settlement
                                     9 discussions, but have not had significant movement in their respective positions.
                                    10         15.   Position of Counsel To Proceed Before a Magistrate-Judge: The
                                    11 parties do not consent to proceed before a Magistrate-Judge.
                                    12         16.   Settlement and ADR: The parties have agreed to ADR Procedure No. 2.
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                                    13 The parties shall appear before a neutral selected from the Court’s Mediation Panel.
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                                    14         17.   Attorneys Who Will Try The Case:
                                    15               a.     Plaintiff: Jonah A. Grossbardt
                                    16               b.     Defendants: Defendants’ counsel have filed a Motion to Withdraw,
                                    17                      and as such, Defendants will need to seek new trial counsel who
                                    18                      are unknown at this time.
                                    19         18.   Amendment of Pleadings: Plaintiff reserves the right to amend the
                                    20 complaint to name and add additional defendants and claims. Any motion to amend
                                    21 the pleadings shall be filed no later than April 30, 2021.
                                    22         19.   Evidence preservation: The parties confirm that their counsel have met
                                    23 and conferred pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate
                                    24 steps taken to preserve evidence relevant to the issues reasonably evident in this
                                    25 action.
                                    26         20.   Disclosures: The parties have stipulated to make their initial disclosures
                                    27 under Fed. R. Civ. P. 26 by April 23, 2021. The parties further stipulated that each
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                                     1 party may amend, supplement, or modify its initial disclosure by May 4, 2021 without
                                     2 penalties or loss of rights.
                                     3         21.   Discovery: The parties have not taken discovery at this time. The parties
                                     4 concur that discovery will be necessary on Plaintiff’s claims, Defendants’ denials of
                                     5 Plaintiff’s claims, and Defendants’ affirmative defenses, including the issue of
                                     6 damages. The parties expect to conduct discovery and disclosure of documents,
                                     7 electronic files, and artwork that may be stored in digital format. However, at this
                                     8 time, the parties do not believe that complex or specialized electronic discovery
                                     9 methods or tools (such as “data mining” techniques) will be required in order to carry
                                    10 out discovery of electronically stored documents contemplated by the parties. The
                                    11 parties agree to claw back any privileged documents.
                                    12         22.   Class Actions: This is not a class action, and the Action does not include
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                                    13 any class claims.
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                                    14         23.   Proposals regarding severance, bifurcation or other ordering proof:
                                    15 Plaintiff believes that the following issues may be narrowed by agreement or by
                                    16 motion, and/or that the following issues, claims, or defenses are amenable to
                                    17 bifurcation: None.
                                    18 Defendants are open to resolve the matter through a reasonable settlement.
                                    19         24.   Related cases: There are no related cases or proceedings pending before
                                    20 any other court, or before an administrative body.
                                    21         25.   Other issues affecting the status or management of the case:
                                    22 Plaintiff: None.
                                    23 Defendants: Defendants’ counsel have filed a motion to withdraw as counsel, and as
                                    24 such, any status or management of the case will need to be further addressed by
                                    25 Defendants’ new counsel.
                                    26         26.   Relief: Plaintiff contends that the relief sought by him through the
                                    27 complaint, including the amount of any damages sought and a description of the bases
                                    28 on which damages are calculated, is as follows:

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                                     1         Plaintiff seeks that Defendants pay Plaintiff his actual damages and Defendants’
                                     2 profits attributable to the infringement, or, at Plaintiff’s election statutory damages, as
                                     3 provided in 17 U.S.C. § 504. Plaintiff also seeks his attorneys’ fees and costs under
                                     4 the applicable statutes sued upon.
                                     5 DEFENDANTS CONTEND: Defendants’ contend that Plaintiff should not prevail in
                                     6 requesting actual or statutory damages or attorneys’ fees and costs.
                                     7
                                     8
                                     9 DATED: March 30, 2021                    /s/ Jonah A. Grossbardt
                                                                                JONAH A. GROSSBARDT
                                    10
                                                                                SRIPLAW, P.A.
                                    11                                          Attorneys for Plaintiff DOUGLAS
                                    12                                          KIRKLAND
          LOS ANGELES, CALIFORNIA




                                    13
                                         DATED: March 30, 2021                  /s/ Mary Lu
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                                    14                                          MARY LU
                                    15                                          PATSY BARRON MARTINEZ
                                                                                KERMISCH & PALETZ LLP
                                    16
                                                                                Attorneys for Defendants THE COOL HEART
                                    17                                          AND NAUSICAA RAMPONY
                                    18
                                    19
                                                                    SIGNATURE ATTESTATION
                                    20
                                               Pursuant to Civil Local Rule 5-4.3.4, I hereby attest that I have obtained the
                                    21
                                         concurrence in the filing of this document from all the signatories for whom a
                                    22
                                    23 signature is indicated by a “conformed” signature (/s/) within this e-filed document
                                    24 and I have on file records to support this concurrence for subsequent production for
                                    25 the Court if so ordered or for inspection upon request.
                                    26
                                    27 Dated: March 30, 2021                        /s/ Jonah A. Grossbardt
                                                                                     Jonah A. Grossbardt
                                    28

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                                                                                               JOINT CASE MANAGEMENT STATEMENT
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